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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                           ENTERED
                                                                                                                11/14/2020
------------------------------------------------------------ §
In re:                                                       §       Chapter 11
                                                             §
CBL & ASSOCIATES                                             §       Case No. 20-35226 (DRJ)
PROPERTIES, INC., et al.,                                    §
                                                             §       (Jointly Administered)
                                    Debtors.1                §
------------------------------------------------------------ §
In re:                                                       §       Chapter 11
                                                             §
CBL/REGENCY I, LLC,                                          §       Case No. 20-35560
                                                             §
                                    Debtor.                  §        (Jointly Administered)
                                                             §
Fed. Tax Id. No.                             N/A             §
------------------------------------------------------------ §             (Docket No. 2)

                       ORDER (I) DIRECTING JOINT ADMINISTRATION
                            OF ADDITIONAL CHAPTER 11 CASE AND
                        (II) THAT CERTAIN ORDERS IN THE CHAPTER
                        11 CASES OF CBL & ASSOCIATES PROPERTIES,
                     INC., ET AL. BE MADE APPLICABLE TO NEW DEBTOR

                    Upon the motion, dated November 13, 2020 (the “Motion”),2 of CBL & Associates

Properties, Inc. and its debtor affiliates, as debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”) for entry of an order (i) pursuant to Rule 1015(b) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), directing the joint

administration of the chapter 11 case of the Additional Debtor with the chapter 11 cases of the

Initial Debtors for procedural purposes only; and (ii) pursuant to section 105 of the Bankruptcy



1
     A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
     claims and noticing agent at https://dm.epiq11.com/CBLProperties. The Debtors’ service address for the
     purposes of these chapter 11 cases is 2030 Hamilton Place Blvd., Suite 500, Chattanooga, Tennessee 37421.
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     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
     Motion.


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Code, directing all generally applicable (1) orders previously entered by the Court in the Initial

Debtors’ chapter 11 cases (the “Preexisting Orders”), and (2) proposed orders sought by the

Initial Debtors that are currently pending before the Court in the Initial Debtors’ chapter 11 cases

(the “Pending Orders”), to apply to the Additional Debtor in its chapter 11 case, all as more fully

set forth in the Motion; and upon consideration of the First Day Declaration; and this Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. § 1334;

and consideration of the Motion and the requested relief being a core proceeding pursuant to 28

U.S.C. § 157(b); and it appearing that venue is proper before this Court pursuant to 28 U.S.C. §§

1408 and 1409; and due and proper notice of the Motion having been provided; and such notice

having been adequate and appropriate under the circumstances, and it appearing that no other or

further notice need be provided; and this Court having reviewed the Motion; and all objections, if

any, to the Motion having been withdrawn, resolved, or overruled; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and it appearing that the relief requested in the Motion is in the best interests of the

Debtors and their respective estates and creditors; and after due deliberation and sufficient cause

appearing therefor,

                    IT IS HEREBY ORDERED THAT:

                    1.        The Motion is granted to the extent set forth herein.

                    2.        The chapter 11 case of the Additional Debtor and the jointly administered

chapter 11 cases of the Initial Debtors are consolidated for procedural purposes only and shall be

jointly administered by the Court under Case No. 20-35226 (DRJ).

Additionally, the following checked items are ordered:




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                   One disclosure statement and plan of reorganization may be filed for all
                cases by any plan proponent.

                   Parties may request joint hearings on matters pending in any of the jointly
                administered cases.

                    Other: See below.

                    3.        Nothing contained in this Order shall be deemed or construed as directing

or otherwise affecting a substantive consolidation of any of the Debtors’ chapter 11 cases, the

Debtors, or the Debtors’ estates. The caption of the jointly administered cases shall read as

follows:

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                      §
In re:                                                §        Chapter 11
                                                      §
CBL & ASSOCIATES                                      §
PROPERTIES, INC., et al.,                             §        Case No. 20-35226 (DRJ)
                                                      §
                    Debtors.1                         §        (Jointly Administered)
                                                      §
1
     A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
     claims and noticing agent at https://dm.epiq11.com/CBLProperties. The Debtors’ service address for the
     purposes of these chapter 11 cases is 2030 Hamilton Place Blvd., Suite 500, Chattanooga, Tennessee 37421.

                    4.        A docket entry substantially similar to the following notation shall be

entered on the docket of the Additional Debtor to reflect the joint administration of these cases:


                    An order has been entered in this case directing the procedural
                    consolidation and joint administration of the chapter 11 case of
                    CBL/Regency I, LLC with CBL & Associates Properties, Inc. and
                    the other chapter 11 cases jointly administered under Case No. 20-
                    35226 (DRJ). The docket of Case No. 20-35226 (DRJ) should be
                    consulted for all matters affecting the case.




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                    5.        The Debtors shall maintain, and the Clerk of the United States Bankruptcy

Court for the Southern District of Texas shall keep, one consolidated docket, one file, and one

consolidated service list for these chapter 11 cases.

                    6.        The Debtors are authorized to file monthly operating reports on a

consolidated basis, but shall track and break out income and disbursements on a debtor-by-debtor

basis.

                    7.        Pursuant to section 105(a) of the Bankruptcy Code, the Preexisting Orders

set forth on Schedule 1 annexed hereto from the Initial Debtors’ chapter 11 cases [Case No. 20-

35226 (DRJ)] are hereby made applicable to the Additional Debtor nunc pro tunc to the date of

commencement of their respective chapter 11 cases, as if the Additional Debtor was a debtor

referred to in said orders.

                    8.        All Pending Orders shall apply to the Additional Debtor effective as of the

date of their entry by this Court.

                    9.        Notwithstanding any applicability of Bankruptcy Rule 6004(h), the terms

and conditions of this Order shall be immediately effective and enforceable upon its entry.

                    10.       The Debtors are authorized to take all actions necessary or appropriate to

carry out the relief granted in this Order.

                    11.       This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.


Dated: _____________, 2020
     Signed: November
       Houston, Texas 14, 2020.
                                                     ____________________________________
                                                         ____________________________________
                                                     THE HONORABLE DAVID R. JONES
                                                         DAVID R. JONES
                                                     UNITED  STATES BANKRUPTCY JUDGE
                                                         UNITED STATES BANKRUPTCY JUDGE




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                                             Schedule 1

                                 Preexisting Orders Entered in
                              CBL & Associates Properties, Inc., et al.
                                   Case No. 20-35226 (DRJ)




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   ECF No.                                                Order

        30           Order Authorizing the Appointment of Epiq As Claims, Noticing,
                     Administrative and Administrative Agent Nunc Pro Tunc to the Petition Date
                     Relief (Entered: 11/02/2020)
        35           Order Granting Complex Chapter 11 Bankruptcy Case Treatment Relief
                     (Entered: 11/02/2020)
        61           Order (I) Approving Debtors’ Proposed Form of Adequate Assurance of
                     Payment to Utility Companies; (II) Establishing Procedures for Resolving
                     Objections by Utility Companies, (III) Prohibiting Utility Companies from
                     Altering, Refusing, or Discontinuing Service, and (IV) Granting Related Relief
                     (Entered: 11/02/2020)
        62           Interim Order Authorizing (I) Payment of Tenant Obligations and (II) Granting
                     Related Relief (Entered: 11/02/2020). The Final Hearing is to be held on
                     11/23/2020 at 1:00 PM (CT) by telephone and video conference.
        63           Order (I) Authorizing Debtors to Pay Prepetition Obligations To Critical Service
                     Providers and Lien Claimants and (II) Granting Related Relief (Entered:
                     11/02/2020)
        64           Order Establishing Notification Procedures and Approving Restrictions on
                     Certain Transfers of Interests in The Debtors (Entered: 11/02/2020)

        65           Interim Order (I) Authorizing the Debtors to Use Cash Collateral, (II)
                     Determining Adequate Protection, (III) Modifying the Automatic Stay, (IV)
                     Scheduling A Final Hearing, and (V) Granting Related Relief (Entered:
                     11/02/2020). The Final Hearing is to be held on 11/23/2020 at 1:00 PM (CT) by
                     telephone and video conference.
        66           Order (I) Authorizing Debtors to (A) File a Consolidated Creditor Matrix and a
                     Consolidated List of 30 Largest Unsecured Creditors, and (B) Redact Certain
                     Personal Identification Information; (II) Modifying Requirement to File a List of
                     Equity Security Holders; and (III) Approving Form and Manner of Notifying
                     Creditors of Commencement of Chapter 11 Cases and Other Information
                     (Entered: 11/02/2020)
        67           Order Extending Time for Debtors to File Schedules and Statements and Rule
                     2015.3 Reports (Entered: 11/02/2020)
        68           Order (I) Authorizing Debtors to Pay Certain Prepetition Taxes and Fees and (II)
                     Granting Related Relief (Entered: 11/02/2020)
        69           Order (I) Authorizing Debtors to (A) Pay Prepetition Wages, Salaries,
                     Reimbursable Expenses, and Other Obligations on Account of Compensation
                     and Benefits Programs and (B) Continue Compensation and Benefits Programs
                     and (II) Granting Related Relief (Entered: 11/02/2020)




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        70           Order (I) Authorizing Debtors to (A) Maintain Their Insurance Programs and
                     Surety Bond Program and (B) Honor All Obligations with Respect Thereto, (II)
                     Modifying Automatic Stay with Respect to Workers’ Compensation Claims, and
                     (III) Granting Related Relief (Entered: 11/02/2020)

        94           Order Regarding the Exchange of Exhibits and Witness Lists in All Contested
                     Matters and Adversary Proceedings. (Entered: 11/03/2020)
        96           Order (I) Directing Joint Administration of Chapter 11 Cases, and (II) Granting
                     Related Relief (Entered: 11/03/2020)

       100           Interim Order (I) Authorizing Debtors to Continue (A) Using Existing Cash
                     Management System, Bank Accounts, and Business Forms and (B) Funding
                     Intercompany Transactions, (II) Providing Administrative Expense Priority for
                     Postpetition Intercompany Claims, and (III) Granting Related Relief (Entered:
                     11/03/2020). The Final Hearing is to be held on 11/23/2020 at 1:00 PM (CT) by
                     telephone and video conference.




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